 Case: 4:18-cv-01576-DDN Doc. #: 17 Filed: 11/29/18 Page: 1 of 1 PageID #: 763



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

MARIO ORTEGA,                                    )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )   Case No. 4:18-cv-01576
                                                 )
CITY OF ST. LOUIS, MISSOURI, ​et al.​,           )
                                                 )
       Defendants.                               )

                                   MOTION TO WITHDRAW

       COMES NOW attorney Nathaniel R. Carroll and hereby requests this Court grant him

leave to withdraw as counsel of record for Plaintiff in the above-captioned matter. All other

attorneys of record for Plaintiff will remain.

Dated: November 29, 2018                         Respectfully submitted,

                                                 By:​/s/ ​Nathaniel R. Carroll
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                                                     St. Louis, MO 63102
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                                                     ncarroll@archcitydefenders.org

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that notice of the foregoing and a copy of the same was
distributed via this Court’s ECF/PACER electronic filing notification system to all counsel of
record on this 29th day of November, 2018.

                                                     /s/ ​Nathaniel R. Carroll
